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                       1 LATHAM & WATKINS LLP
                         Daniel P. Brunton (Bar No. 218615)
                       2 Email: daniel.brunton@lw.com
                         12670 High Bluff Drive
                       3 San Diego, CA 92130
                         Tel.: (858) 523-5400
                       4 Fax: (858) 523-5450
                   5 Benjamin J. Hanelin (Bar No. 237595)
                     Email: benjamin.hanelin@lw.com
                   6 355 South Grand Avenue, Suite 100
                     Los Angeles, California 90071-1560
                   7 Tel.: (213) 485-1234
                     Fax: (213) 891-8763
                   8
                     Janice M. Schneider (Pro Hac Vice)
                   9 Email: janice.schneider@lw.com
                     Devin M. O’Connor (Pro Hac Vice)
                  10 Email: devin.o’connor@lw.com
                     555 Eleventh Street, NW, Suite 1000
                  11 Washington, D.C. 20004-1304
                     Tel.: (202) 637-2200
                  12 Fax: (202) 637-2201
                  13 Attorneys for Intervenor-Defendant
                     Sable Offshore Corp.
                  14
                  15                        UNITED STATES DISTRICT COURT
                  16                       CENTRAL DISTRICT OF CALIFORNIA
                  17                                  WESTERN DIVISION
                  18      CENTER FOR BIOLOGICAL                  CASE NO. 2:24-cv-05459-MWC-MAA
                          DIVERSITY, et al.,
                  19                                             DECLARATION OF STEVEN P.
                                        Plaintiffs,              RUSCH IN SUPPORT OF SABLE
                  20                                             OFFSHORE CORP.’S RESPONSE
                                v.                               TO FEDERAL DEFENDANTS’
                  21                                             MOTION FOR VOLUNTARY
                          DEBRA HAALAND, et al.,                 REMAND
                  22
                                        Defendants,
                  23                                             Hearing
                                and                              Date: January 31, 2025
                  24                                             Time: 1:30 p.m.
                          SABLE OFFSHORE CORP.,                  Judge: Hon. Michelle Williams Court
                  25                                             Courtroom: 6A
                                         Intervenor-Defendant.
                  26
                  27
                  28
                                                                               CASE NO. 2:24-cv-05459-MWC-MAA
ATTOR NEY S A T LA W
    SAN DIEGO                                                    1           DECLARATION OF STEVEN P. RUSCH
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                       1                     DECLARATION OF STEVEN P. RUSCH
                       2 Pursuant to 28 U.S.C. § 1746(2), I, Steven P. Rusch, hereby declare:
                       3               1.    I am employed by Intervenor-Defendant Sable Offshore Corp.
                       4 (“Sable” or the “Company”), as Vice President, Regulatory & Environmental
                       5 Affairs. I have over 44 years of experience in the oil and gas industry. Before my
                       6 current position with Sable, I was the Vice President, Environment, Health and
                       7 Safety (“EHS”) and Government Affairs at Freeport-McMoRan Oil & Gas, a
                       8 Senior Staff Engineer at ExxonMobil Corporation and the Principal at Rusch
                       9 Consulting. I have a Bachelor’s Degree in Civil Engineering from the University
                  10 of California at Berkeley and have been licensed by the State of California as a
                  11 Professional Engineer.
                  12                   2.    Sable is a publicly traded oil and gas company focused on
                  13 responsibly developing the Santa Ynez Unit (“SYU”) in federal waters offshore
                  14 California.
                  15                   3.    I have been involved in Sable’s acquisition, maintenance, and
                  16 development of the SYU, which is the subject of this action. These assets were
                  17 previously owned by Exxon Mobil Corporation (“Exxon”) and Mobil Pacific
                  18 Pipeline Company (“MPPC,” and together with Exxon, “EM”).
                  19            A.     Extensive Environmental Reviews Were Performed Prior to
                  20                   Development of the Santa Ynez Unit
                  21                   4.    The 16 leases for the SYU that are the subject of the Bureau of
                  22 Safety and Environmental Enforcement’s (“BSEE”) 2023 Extension decision
                  23 challenged in this action are for an initial term of five years and as “long thereafter
                  24 as oil or gas” is or may be “produced from the leased area in paying quantities, or
                  25 drilling or well reworking operations, as approved by” the Department of the
                  26 Interior. E.g., Lease OCS-P00180 (Feb. 6, 1968). As an example of one of
                  27 Sable’s SYU leases, a true and correct copy of Lease OCS-P00180 dated February
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                       1 6, 1968 is attached hereto as Exhibit A.
                       2               5.     The 16 leases contained within the SYU are subject to an active
                       3 unitization agreement (“Unit Agreement”) approved by the federal government in
                       4 1970. A true and correct copy of the Unit Agreement and the amendments thereto
                       5 are attached hereto as Exhibit B. The Unit Agreement modifies and amends the
                       6 lease terms, including to extend the term of the leases as provided for the life of the
                       7 Unit Agreement. Id. § 12. Specifically, the Santa Ynez Unit Agreement (and its
                       8 associated leases) continue in force and effect “so long as Unitized Substances are
                       9 or can be produced and, should production cease, so long thereafter as diligent
                  10 operations are in progress for the restoration of production or discovery of new
                  11 production . . . .” Id. § 13 (emphasis added).
                  12                   6.     In May 1974, the United States Geological Survey published a
                  13 final environmental impact statement analyzing a proposed plan of development
                  14 for the SYU for the Hondo field. See 39 Fed. Reg. 16,910 (May 10, 1974). In
                  15 August 1974, the Acting Secretary of the Interior approved the proposed plan of
                  16 development for the SYU for the Hondo field. In 1975, the United States
                  17 Geological Survey prepared another environmental impact statement
                  18 comprehensively analyzing development and production of oil and gas in the Santa
                  19 Barbara Channel Outer Continental Shelf, including development and production
                  20 in the SYU. See 40 Fed. Reg. 25,241 (June 13, 1975); 41 Fed. Reg. 10,116 (Mar.
                  21 9, 1976).
                  22                   7.     In June 1984, the United States Minerals Management Service
                  23 (the predecessor agency to BSEE), the California State Lands Commission, and
                  24 Santa Barbara County released a final environmental impact report/final
                  25 environmental impact statement further studying oil and gas development and
                  26 production at the SYU (“1984 EIS”). See 49 Fed. Reg. 30,144 (July 26, 1984).
                  27 The 1984 EIS analyzed alternatives to the proposed project, cumulative
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                       1 development and impacts, impacts of the project across environmental resources
                       2 including air quality, climate, geology, surface and groundwater, terrestrial and
                       3 marine biology, system safety and reliability, and also included detailed mitigation
                       4 measures.
                       5               8.     Activities on the SYU have since been the subject of various
                       6 environmental reviews, as needed. For example, in 2021 the Bureau of Ocean
                       7 Energy Management (“BOEM”) prepared an Environmental Assessment and
                       8 Finding of No Significant Impact for Exxon’s proposed repairs at the SYU to
                       9 install Impressed Current Cathodic Protection Anode Sleds.1
                  10             B.    The Shutdown Is Subject to a Preservation Plan Approved by
                  11                   BSEE
                  12                   9.     Following the onshore 2015 Plains All American Pipeline
                  13 (“Plains”) leak, Exxon sought and obtained yearly extensions of time from BSEE
                  14 to resume operations. Each year, BSEE authorized extensions to resume
                  15 operations on the 16 offshore oil and gas leases in the SYU to maintain the status
                  16 quo, with the most recent authorization issued by BSEE on November 14, 2023
                  17 (“2023 Extension”).
                  18                   10.    The Plains pipeline that experience the leak in 2015 was
                  19 previously known as Pipeline 901 and is now known as Pipeline 324. It is located
                  20 onshore and runs from the Las Flores Pump Station to the Gaviota Pump Station in
                  21 Santa Barbara County. No SYU offshore facilities were involved in the Plains
                  22 pipeline incident (other than to be shut-in as a result).
                  23                   11.    Following the onshore Plains pipeline leak in 2015, which
                  24 interrupted service and necessitated the shutdown of the SYU facilities, the SYU
                  25 facilities became subject to an environmentally protective preservation plan that
                  26 was approved by BSEE. The preservation plan was specifically designed to ensure
                  27       1
                      https://www.boem.gov/regions/pacific-ocs-region/Santa-Ynez-Unit-Anode-Sled-
                  28 Project
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                       1 “the integrity management of facilities in a safe and environmentally responsible
                       2 manner for the duration of the outage.” See January 21, 2016 letter from Exxon to
                       3 BSEE setting forth certain SYU Preservation Plan requirements (the “Preservation
                       4 Plan”). The Preservation Plan required that: (a) idle equipment be drained,
                       5 flushed, and purged; (b) gas pipelines be depressurized and flushed with nitrogen;
                       6 (c) all wells (with the exception of one active water injection well) be sealed with
                       7 at least 3 barriers in-place from the hydrocarbon zones to surface; (d) the Hondo
                       8 platform be staffed and inspected daily; (e) the Harmony and Heritage platforms be
                       9 inspected weekly; (f) the offshore emulsion pipeline network be pigged and
                  10 flushed with inhibited seawater; and (e) an offshore pipeline preservation plan be
                  11 implemented, including pigging, application of biocide, and pressure testing, as
                  12 appropriate. These actions have been taken and the SYU is in compliance with the
                  13 Preservation Plan, which BSEE confirmed is being adhered to in its 2023 decision.
                  14                   12.     Pursuant to the Preservation Plan, the Hondo platform is
                  15 staffed and inspected daily, and the Harmony and Heritage platforms were
                  16 inspected weekly until they were re-staffed in April and subsequent daily
                  17 inspections began. The Preservation Plan requires quarterly updates by Sable to
                  18 BSEE. The lease extensions also required separate quarterly updates to BSEE
                  19 while such extensions were in effect (until October 2024 when leaseholding
                  20 activities were completed, as explained below). True and correct copies of the
                  21 January 21, 2016 letter (without technical attachments) from Exxon to BSEE
                  22 regarding SYU Preservation Plan requirements and BSEE’s February 12, 2016
                  23 approval of the Preservation Plan are attached hereto as Exhibit C. The technical
                  24 details of the Preservation Plan have been updated over time in coordination with
                  25 and as approved by BSEE. BSEE’s November 2023 Categorical Exclusion
                  26 Review states that BSEE will oversee adherence to “the ongoing preservation plan
                  27 for safe and environmentally protective maintenance and oversight of the facilities
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                       1 while idled.”
                       2               13.   Additionally, BSEE and the U.S. Coast Guard conduct routine
                       3 inspections and drills related to maintaining the SYU facilities in safe and good
                       4 working order.
                       5               14.   The California Coastal Commission reviewed BSEE’s
                       6 determination on the initial extension to resume operation and agreed that there
                       7 would be “no effects” on coastal resources. A true and correct copy of the
                       8 California Coastal Commission’s No Effects Determination dated November 15,
                       9 2016 is attached hereto as Exhibit D.
                  10            C.     Vacatur Could Cause Significant Prejudice to Sable, Which Has
                  11                   Relied on the Extension of Time to Resume Operations on the
                  12                   Leases
                  13                   15.   On February 14, 2024, the Company consummated the
                  14 Purchase Agreement and Exxon assigned the 16 leases to Sable. On May 15,
                  15 2024, Sable and EM completed the asset handover, which involved Sable hiring 48
                  16 former EM field employees and an additional 24 employees. On May 21, 2024,
                  17 the BOEM approved all 16 lease assignments and Sable has since been the
                  18 leaseholder of the 16 leases. Sable relied on the 2023 Extension and the status of
                  19 the leases when it consummated the purchase of the SYU assets and continued to
                  20 work towards restarting operations. Since acquisition of the SYU assets, Sable has
                  21 been diligently investing in and upgrading the facilities, as appropriate, to facilitate
                  22 a restart of production. Contrary to Plaintiffs’ allegations in their Complaint, the
                  23 offshore assets are well maintained and in good operational order.
                  24                   16.   To date, Sable has obligated close to $1 billion associated with
                  25 the purchase, repair, maintenance and upgrades of the SYU assets. Sable’s
                  26 offshore investments in the SYU facilities include overhauling gas compressors,
                  27 continuing offshore pipeline integrity surveys, completing hydrotests of offshore
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                       1 emulsion pipelines, completing safety device testing campaign, and finishing all
                       2 vessel and piping circuit integrity inspections. Sable and its now subsidiary Pacific
                       3 Pipeline Company recently onboarded and trained approximately 400 contractors
                       4 and 100 employees to facilitate restart of the SYU assets. Sable has worked
                       5 closely with BSEE and the U.S. Coast Guard to ensure its activities offshore are
                       6 safe and responsible.
                       7               17.   Since the close of the Purchase Agreement, in addition to the
                       8 extensive investments Sable has made to the physical infrastructure, Sable’s
                       9 geoscience and reservoir engineering management team also has been evaluating
                  10 reservoir development opportunities. Sable estimates that over 1 billion barrels of
                  11 oil are still recoverable from the Santa Ynez Unit, which represents nearly $10
                  12 billion in net contingent resources overall.
                  13                   18.   Under the Purchase Agreement, if Sable does not successfully
                  14 restart the offshore facilities prior to 2026, Exxon has the right to take over the
                  15 SYU assets and rights at no cost.
                  16            D.     Sable Has Completed Additional Leaseholding Activities
                  17                   19.   In addition to the protections contained in the Unit Agreement,
                  18 as of October 9, 2024 and December 9, 2024, Sable also completed well reworking
                  19 operations at Well HE-23 and Well HE-28, respectively.
                  20                   20.    On October 22, 2024, BSEE confirmed via email that based on
                  21 the well rework at Well HE-23, “the SYU leases are no longer held by the
                  22 approved lease extension, issued under 30 CFR 250.180(e) . . . [which] was
                  23 effective through December 13, 2024.” A true and correct copy of Nathan
                  24 Sinkula’s (BSEE) email to Lakeisha Douglas (BOEM) on October 22, 2024 is
                  25 attached hereto in Exhibit E. On January 7, 2025, BSEE confirmed via email that
                  26 based on the well rework at Well HE-28, “[i]n absence of additional leaseholding
                  27 activities or approved lease extensions, the SYU leases will expire on December 9,
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                       1 2025.” A true and correct copy of Nathan Sinkula’s (BSEE) email to Lakeisha
                       2 Douglas (BOEM) on January 7, 2025 is attached hereto in Exhibit E.
                       3        E.     Additional Administrative Record Documents
                       4               21.   As explained in Federal Defendants’ Motion (Dkt. 37 at 8 n.2),
                       5 Federal Defendants inadvertently left out of the administrative record filed with the
                       6 Court the correct version of the Categorical Exclusion Review supporting the 2023
                       7 Extension. A true and correct copy of the correct Categorical Exclusion Review
                       8 conducted by BSEE on November 9, 2023 is attached hereto as Exhibit F.
                       9               22.   Federal Defendants also did not include the Preservation Plan
                  10 (discussed above), which is explicitly referenced in the Categorical Exclusion
                  11 Review, and should be included in the administrative record.
                  12                   23.   Sable has identified over 45 other documents that should have
                  13 been included in the administrative record for BSEE’s 2023 Extension decision.
                  14
                  15            I declare under penalty of perjury that the foregoing is true and correct.
                  16 Executed on January 10, 2025.
                  17
                  18                                                ______________________
                  19                                                Steven P. Rusch

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